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 6                          UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       )           1:08-cr-0212 OWW
                                     )
10                  Plaintiff,       )           ORDER RE: JUROR DISCLOSURE
                                     )
11        v.                         )
                                     )
12   HARJEET MANN, SUKHRAJ DHALIWAL, )
     and GURMEET SINGH BISLA,        )
13                                   )
                    Defendants.      )
14                                   )
                                     )
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16
17        Following the jury trial, juror number eight, Eileen
18   Hernandez, mentioned to Agent Shawn Riley that she also
19   recognized him from Pathfinders.         She indicated that although she
20   knew Mr. Riley’s parents, she did not know him.          Further, that
21   any Pathfinders activity in which Agent Riley participated was
22   more than 20 years ago.       Such knowledge had no effect whatsoever
23   on her hearing of and decisions in this case.          This disclosure
24   shall be served on all parties in this case.
25
26   IT IS SO ORDERED.
27   Dated: June 26, 2009                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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